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IN THE UNITED sTATEs DISTRICT cOURT
FOR THE DISTRICT OF DELAWARE
RYAN MATTHE\X/ RESOP,
Plaimiff,
v. Civ. NO. 15_626-LPS
SGT. ANGELINA DEALLIE, et al., .

Defendants.

 

Ryan Matthew Resop, james T. Vaughn Correctional Center, Srnyrna, Delaware, Pro Se Plaintiff.

Ryan Patrick Conne]l, Deputy Attorney General Deputy, Delaware Department Of]ustice,
Wi]mington, DelaWare. Counsel for Defendants.

MEMORANDUM OPINION

August 18, 2017
Wi]mington, Delaware

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STAR , U.S. Dlstric ge:
I. INTRODUCTION

Plaintiff Ryan Matthew Resop (“Plaintiff”) an inmate at the james T. Vaughn Correctional
Center ("VCC”) filed this action pursuant to 42 U.S.C. § 1983 on july 21, 2015. (D.I. 3) He appears
pro .re and has been granted leave to proceed z'nfomapaz/perz'.r. Pending is Defendants’ motion to
dismiss or, in the alterative, for summary judgment, filed December 5, 2016. (D.I. 23) Plaintiff did
not respond to the motion. The Court has jurisdiction pursuant to 28 U.S.C. § 1331. For the
reasons that follow, the Court will grant the motion.
II. BACKGROUND

The only claims that remain are that Defendants Sgt. Angelina Dea]lie (“Deal]ie”) and
Abigail E. West (“West”) (together “Defendants”) spread rumors among Plainan s fellow inmates
that he was a State witness, knowing that Plaintiff would be attacked when the prison population
heard the rumors and, indeed, he was attacked on june 11, 2014. (D.l. 3) All other Defendants and
Claims have been dismissed (A"ee D.I. 12, 13, 18, 19)

ln the Complaint, Plaintiff indicated that he had not Eled a grievance concerning the facts
related to the Complaint. (D.I. 3 at 8) Matthew Dutton (“Dutton”), who is employed by the
Delaware Department of Correction (“DOC”), reviewed grievances filed by Plaintiff during the
relevant tjrne-frame, from july 21, 2013 through july 21, 2015 _ for grievances that mention
Defendants, report that Plaintiff was called a snitch, or relate to a fight with his cellmate on or about
june 11, 2014. (D.l. 24-2 at 1) Dutton found no grievances that met any of these criteria. (Id.)

Defendants move for dismissal or, in the alternative, for summary judgment Defendants
move to dismiss 0n the grounds that Plaintiff has failed to plead a plausible claim for relief and

move for summary judgment on the grounds that he failed to exhaust his administrative remedies as

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is required by the Prison Litigation Reform Act (“PLRA”). (D.I. 24) Plaintiff did not file a response
to the motion.
III. LEGAL STANDARDS

Under Rule 56(a) of the Federal Rules of Civil Procedure, “[tjhe court shall grant summary
judgment if the movant shows that there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” The moving party bears the burden of
demonstrating the absence of a genuine issue of material fact. 506 Mal‘m,r/Jz'l‘a E/er. Indm. Co., Lz‘d. v.
Zenz'l‘/J Radz'o Colj)., 475 U.S. 574, 585-86 (1986). An assertion that a fact cannot be ~ or, alternatively,
is ~ genuinely disputed must be supported either by “citing to particular parts of materials in the
record, including depositions, documents, electronically stored information, affidavits or
declarations, stipulations (including those made for purposes of the motion only), admissions,
interrogatory answers, or other materials,” or by “showing that the materials cited do not establish
the absence or presence of a genuine dispute, or that an adverse party cannot produce admissible
evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(A) & (B) lf the moving party has carried its
burden, the nonmovant must then “come forward with specific facts showing that there is a genuine
issue for trial.” Matm,r/Jz`l‘a, 475 U.S. at 587 (internal quotation marks omitted). The Court will “draw
all reasonable inferences in favor of the nonmoving party, and it may not make credibility
determinations or weigh the evidence.” Reeve,r a §ander,ron P/zlm/?z'ng Prod,r., Inr., 530 U.S. 133, 150
(2000).

To defeat a motion for summary judgrnent, the nonmoving party must “do more than
simply show that there is some metaphysical doubt as to the material facts.” Mal‘rzl,r/Jz'l‘a, 475 U.S. at
586; yee a/,ro Podo/mz`k z). U.S. Po,rl‘a/ fem, 409 F.3d 584, 594 (3d Cir. 2005) (stating party opposing

summary judgment “must present more than just bare assertions, conclusory allegations or

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suspicions to show the existence of a genuine issue”) (internal quotation marks omitted). The “mere
existence of some alleged factual dispute between the parties will not defeat an otherwise properly
supported motion for summary judgment;” a factual dispute is genuine only where “the evidence is
such that a reasonable jury could return a verdict for the nonmoving party.” Ander_ron v. Lz`/aer?')/
Lob@', Im'., 477 U.S. 242, 247-48 (1986). “lf the evidence is merely colorable, or is not significantly
probative, summary judgment may be granted.” Id. at 249-50 (internal citations omitted); _ree alia
Ce/oz‘ex Co)]>. v. Caz‘r€z‘z‘, 477 U.S. 317, 322 (1986) (stating entry of summary judgment is mandated
“against a party who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of proof at trial”). Thus,
the “mere existence of a scintilla of evidence” in support of the nonmoving party’s position is
insufficient to defeat a motion for summary judgment; there must be “evidence on which the jury
could reasonably find” for the nonmoving party. Andem)n, 477 U.S. at 252. The Court will not
grant the entry of summary judgment without considering the merits of Defendants’ unopposed
motion. Sz‘ac,éboure v. Maqur,éz}zwz`cz, 951 F.2d 29, 30 (3d Cir. 1991) (holding that district court should
not have granted summary judgment solely on basis that motion for summary judgment was not
opposed).
IV. DISCUSSION

Defendants seek summary judgment on the grounds that Plaintiff has failed to exhaust his
administrative remedies as is required under the PLRA. Defendants provide evidence that Plaintiff
failed to exhaust his administrative remedies with regard to the events describe in his Complaint.
Plaintiff did not refute that evidence, and his allegations in the Complaint confirm that he did not
exhaust his administrative remedies.

The PLRA provides that “[njo action shall be brought with respect to prison conditions

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under section 1983 or any other Federal law, by a prisoner confined in any jail, prison, or other
correctional facility until such administrative remedies as are available are exhausted.” 42 U.S.C.
§ 1997e(a); rec Pon‘er v. Nu.r.r/e, 534 U.S. 516, 532 (2002) (“[l`jhe PLRA’s exhaustion requirement
applies to all inmate suits about prison life, whether they involve general circumstances or particular
episodes, and whether they allege excessive force or some other wrong.”). Defendants have the
burden of pleading and proving failure to exhaust administrative remedies as an affirmative defense
in a § 1983 action. Ra)) a Km‘e.r, 285 F.3d 287, 295-96 (3d Cir. 2002).

Under § 1997e(a), “an inmate must exhaust [administrative remediesj irrespective of the
forms of relief sought and offered through administrative avenues.” Bool‘h a Churner, 532 U.S. 731,
741 n.6 (2001). Exhaustion means proper exhaustion, that is, “a prisoner must complete the
administrative review process in accordance with the applicable procedural rules, including
deadlines, as a precondition to bringing suit in federal court.” Woo¢#ord a Ngo, 548 U.S. 81, 88
(2006). “‘[Pjrison grievance procedures supply the yardstick’ for determining what steps are required
for exhaustion.” Wz`//z`am.r a Bmm', 482 F.3d 637, 639 (3d Cir. 2007) (quoting §pmz`// a Gz'//z`.r, 372 F.3d
218, 231 (3d Cir. 2004)). A prisoner must complete the administrative review process in accordance
with the applicable procedural rules in order to satisfy the exhaustion requirement of the PLRA. ice
Nz'€,éen.r y. Depan‘mem‘ ofcorr., 277 F. App’x 148, 152 (3d Cir. May 12, 2008) (citing W'z'//z'am.r, 482 F.3d
at 639; §pmz'//, 372 F.3d at 228, 231). Perfect overlap between the grievance and a complaint is not
required by the PLRA as long as there is a shared factual basis between the two, §ee ]ac,é.ro)¢ a Ivam,
244 F. App’x 508, 513 (3d Cir. Aug. 8, 2007) (citing Woo¢#om’, 548 U.S. at 95 (“The benefits of
exhaustion can be realized only if the prison grievance system is given a fair opportunity to consider
the grievance.”)).

The exhaustion requirement is absolute, absent circumstances where no administrative

remedy is available. §ee §pmz'//, 372 F.3d at 227-28; N))huz'.r, 204 F.3d at 67. An administrative

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procedure is unavailable when: (1) despite what regulations or guidance materials may promise, it
operates as a simple dead end with officers unable or consistently unwilling to provide any relief to
aggrieved inmates; (2) an administrative scheme is so opaque that it becomes incapable of use; or

(3) when prison administrators thwart inmates from taking advantage of a grievance process through
machination, misrepresentation, or intimidation 5 66 Rorr a B/a,é6, _U.S._, 136 S.Ct. 1850, 1859-60
(2016). If prison authorities thwart the inmate’s efforts to pursue the grievance, administrative
remedies may be presumed exhausted, as no further remedies are “available” to him. 5 66 Brou)n a
Croa/é, 312 F.3d109, 112-13 (3d Cir. 2002).

At the VCC, the inmate grievance policy provides a multi-tiered grievance and appeal
process. (D.l. 24-1 at 1-11) Plaintiff produced no evidence to the contrary, nor did he refer to any
circumstance that prevented him from submitting grievances. T he only reasonable inding that may
be made based on the record evidence is that Plaintiff failed to exhaust his administrative remedies.
Thus, his claims are procedurally defaulted 5 66 Spmz'//, 372 F.3d at 232, 228-31. Therefore, the
Court will grant Defendants’ motion for summary judgment
V. CONCLUSION

The Court will grant Defendants’ motion to dismiss or, in the alternative, for summary

judgment (D.l. 23). An appropriate Order will be entered.

